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                                                                USDC-SDNY
                                                                DOCUMENT
                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                    DOC#:
SOUTHERN DISTRICT OF NEW YORK                                   DATE FILED: 1-12-2021


 UNITED STATES OF AMERICA,
                                                                No. 20-CR-469 (RA)
                                  v.
                                                                       ORDER
                ADAM LAMBERT,

                           Defendant.


RONNIE ABRAMS, United States District Judge:

         The CourtCall conference is scheduled for Thursday January 14, 2021 at 9:00

a.m. Members of the public and the press can use the following dial-in information:

         Dial-In Number: 855-268-7844

         Access Code: 32091812#

         PIN: 9921299#

SO ORDERED.

Dated:     January 14, 2021
           New York, New York

                                                Ronnie Abrams
                                                United States District Judge
